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                      Case: 17-11417 Date Filed: 08/18/2017 Page: 1 of 1


                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

David J. Smith                                                                        For rules and forms visit
Clerk of Court                                                                        www.ca11.uscourts.gov


                                           August 18, 2017

Ronald Eckland
5955 MATT HWY
CUMMING, GA 30028

Appeal Number: 17-11417-CC
Case Style: Evangelina Forsberg v. Ronald Eckland
District Court Docket No: 1:07-cv-03116-CC

This Court requires all counsel to file documents electronically using the Electronic Case
Files ("ECF") system, unless exempted for good cause.

The enclosed order has been ENTERED.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Julie F. Cohen, CC/lt
Phone #: (404) 335-6170

                                                                        MOT-2 Notice of Court Action
         Case 1:07-cv-03116-CC Document 523 Filed 08/18/17 Page 2 of 2
              Case: 17-11417 Date Filed: 08/18/2017 Page: 1 of 1


                     IN THE UNITED STATES COURT OF APPEALS

                             FOR THE ELEVENTH CIRCUIT




                                     No. 17-11417-CC



EV ANGELINA FORSBERG,

                                                                           Plaintiff-Appellee,

                                               versus



RONALD ECKLAND,

                                                                        Respondent-Appellant.



                         Appeal from the United States District Court
                             for the Northern District of Georgia



Before HULL,MARTIN,and JILL PRYOR,Circuit Judges.

BY THE COURT:

       Ronald Eckland's motion for reconsideration of our June 21, 2017 order dismissing this

appeal for lack ofjurisdiction is DENIED.
